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                                   NAVIGATION INC.
                               9
                              10                   UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                              11
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                              12   TMF TRUSTEE LIMITED,                         Case No.: 2:17-cv-9010-AGR

                              13                      Plaintiff,                IN ADMIRALTY
                              14   v.
                                                                                HURRICANE’S EX PARTE
                              15   M/T MEGACORE PHILOMENA,                      APPLICATION FOR
                              16   her engines, boilers, tackles, and           RECONSIDERATION OF ORDER
                                   other appurtenances, etc., in rem;           TO SELL VESSEL;
                              17   HURRICANE NAVIGATION INC.,                   MEMORANDUM OF POINTS AND
                              18   a Marshall Islands Corporation, in           AUTHORITIES IN SUPPORT
                                   personam,
                              19                                                Room:           550
                              20                      Defendants.               Judge:          Hon. Alicia G. Rosenberg
                              21                                                Telephonic hearing requested
                              22
                                   And related cross-actions.
                              23
                              24
                              25                         INTRODUCTORY STATEMENT,
                              26                       GROUNDS FOR EX PARTE RELIEF
                              27         TMF moved to compel the sale of Philomena, the subject vessel, on
                              28   February 20, 2018. In its opposition to that motion, filed on March 13, 2018,

                                                          HURRICANE’S EX PARTE APPLICATION, PS AND AS, FOR
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                               1   Hurricane expressed several reasons why ordering a sale would be premature,
                               2   irremediably prejudicial to Hurricane, in violation of the governing loan
                               3   agreement, and manifestly unfair. More specifically, Hurricane argued that the
                               4   costs of arrest were not truly “excessive” by any reasonable construction of that
                               5   term; and that Hurricane had not been dilatory in attempting to refinance or bond
                               6   out the vessel. On the contrary, Lenders’ efforts to pre-market the vessel had
                               7   effectively shut down any viable market for refinancing and depressed the value
                               8   of the vessel, precluding a sale at a fair market price.
                               9         The Court provisionally granted TMF’s motion by unsigned minute order
                              10   dated July 10, 2018, stating that a final order would follow (Dkt. 230). The Court
                              11   then entered an order on July 20, 2018. The substance of that July 20 order had
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                              12   been drafted by TMF’s counsel and contained at least two findings that
                              13   substantively deviated from the terms of the Court’s initial minute order (Dkt.
                              14   245). Those discrepancies prompted the Court to issue a third and final order on
                              15   August 7, 2018, after a conference call with counsel for all parties (Dkt. 264). By
                              16   that final amended order of August 7, 2018, the Court granted TMF’s motion for
                              17   interlocutory sale of the vessel, amending some aspects of the July 20 order. The
                              18   sale, by public auction, is now set for 10:00 a.m. on September 11, 2018.
                              19         Since the time of Hurricane’s opposition to TMF’s motion for
                              20   interlocutory sale, discovery has unearthed several previously unknown but
                              21   important facts that directly relate to the statutory grounds by which a sale may
                              22   be ordered. The Court did not have occasion to consider those facts, as they were
                              23   only discovered in the course of depositions and document productions that
                              24   occurred well after briefing on the sale motion had been completed.
                              25         Hurricane brings the instant motion for reconsideration on an ex parte
                              26   basis because doing so by regular noticed motion would not allow the motion to
                              27   be heard and decided before the scheduled sale date of September 11, 2018. The
                              28   newly-acquired evidence must be brought before the Court well in advance of the
                                                                                 1
                                                           HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
                                                             RECONSIDERATION OF ORDER TO SELL VESSEL
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                               1   sale date: In the event that the Court affirms its August 7, 2018 Order granting
                               2   TMF’s motion for sale, Hurricane will be appealing the adverse judgment to the
                               3   Ninth Circuit and then immediately seeking a stay of that Order. Any delay in the
                               4   deciding of the instant motion for reconsideration would unduly prejudice
                               5   Hurricane’s ability to obtain that stay. It is therefore imperative that the instant
                               6   motion be heard and decided without delay.
                               7
                               8                                        ARGUMENT
                               9   A.    The Court’s stated reasons for disbelieving Hurricane’s claims that
                              10
                                         TMF’s conduct prevented it from selling, refinancing, or bonding the
                                         vessel have been undermined by deposition testimony and documents
                              11         acquired after the submission of briefing.
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                              12         1.     Reconsideration is proper because new, previously unavailable
                                                evidence has come to light that directly undermines the Court’s
                              13
                                                reasoning.
                              14
                                         In this judicial district, the Local Rules augment the corresponding Federal
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                                   Rules of Civil Procedure that set forth the grounds upon which a party may move
                              16
                                   for reconsideration of a final judgment. Those Local Rules allow a motion for
                              17
                                   reconsideration only if there exists either (a) a material difference in fact or law
                              18
                                   from that presented to the Court before the Court rendered its decision, where
                              19
                                   those matters could not have been known to the moving party with the exercise
                              20
                                   of reasonable diligence; (b) the emergence of new and material facts or a change
                              21
                                   of law that occurred after the date of the Court’s decision; or (c) a manifest
                              22
                                   showing that the Court had failed to consider material facts that had been
                              23
                                   presented to it. L.R. 7-18.
                              24
                                         The corresponding Federal Rules of Civil Procedure, as interpreted by the
                              25
                                   Ninth Circuit, allow reconsideration of a judgment where the Court “(1) is
                              26
                                   presented with newly discovered evidence, (2) committed clear error or the initial
                              27
                                   decision was manifestly unjust, or (3) if there is an intervening change in
                              28
                                   controlling law.” Sch. Dist. No. 1J, Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d
                                                                                 2
                                                           HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
                                                             RECONSIDERATION OF ORDER TO SELL VESSEL
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                               1   1255, 1263 (9th Cir. 1993); see also 389 Orange Street Partners v. Arnold, 179
                               2   F.3d 656, 665 (9th Cir. 1999).
                               3          As will be more fully explained below, deposition testimony and
                               4   documents acquired after the conclusion of briefing undermine the Court’s
                               5   expressed reasoning for disbelieving Hurricane’s argument that it was Lenders’
                               6   and TMF’s conduct in the marketplace that prevented Hurricane from either
                               7   selling or refinancing the vessel (the ability to secure a bond for Philomena’s
                               8   release being essentially impossible due to Hurricane being a non-U.S.-based
                               9   entity).1
                              10          2.    Lenders and TMF, in cahoots with brokers and TMF’s counsel,
                              11
                                                actively attempted to pre-sell the vessel at a severely discounted
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                                                price, efforts that inhibited Hurricane’s ability to sell, refinance, or
                              12                bond the vessel.
                              13          As Hurricane had already informed the Court in its previous briefing,2, 3 in
                              14   or around February of 2018, counsel for TMF had given a list of specific vessel-
                              15   related documents to a representative of the custodian of the vessel. The
                              16   custodian’s representative then boarded the arrested vessel and, feigning
                              17   authority of the U.S. Marshal, demanded that the captain, a represented party,
                              18   turn over the vessel-related documents described in that list (fn 3). The captain,
                              19   of course, reported the encounter to Hurricane’s counsel, who then confronted
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                                   1
                                    As Hurricane’s counsel explained at oral argument, a foreign vessel owner
                              21
                                   brought before a U.S. court to assert its rights to the seized vessel has no realistic
                              22   opportunity to obtain a bond. U.S.-based surety companies see foreign
                                   bondholders as a high risk. As a result, they require enormous security, which
                              23
                                   usually consists of cash security in a U.S. bank account in the amount of the
                              24   bond, in addition to a 10 to 20 percent premium.
                                   2
                              25    See Hurricane’s opposition to TMF’s Motion for Supplemental Arrest, pp. 1 –
                                   2, fn 1 (Dkt. 99).
                              26   3
                                    Hurricane’s Opposition to TMF’s Motion for Interlocutory Sale, p. 2;
                              27   Brucculeri Declaration, March 13, 2018, at ¶¶ 3 – 11, attaching as Ex. A email
                              28   dated February 15, 2018 from Patrick Ehrich to Captain Gostev (Dkt. 132).

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                                                           HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
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                               1   counsel for TMF with what appeared to be gross misconduct on their part:
                               2   namely, that counsel was actually a party not only to the false impersonation of a
                               3   federal officer but to attempting to surreptitiously obtain documents outside of
                               4   normal discovery procedures (Id.).4 Counsel for TMF assured Hurricane’s
                               5   counsel that TMF itself had nothing to do with that document demand, and that
                               6   the idea and direction to execute it derived exclusively from the office of TMF’s
                               7   counsel.5
                               8         Hurricane tried to persuade the Court that the conduct of TMF’s counsel
                               9   constituted an attempt on the part of TMF to “pre-sell” the vessel: that is, that
                              10   TMF or Lenders (or all of them) sought to obtain those documents in order to
                              11   quickly disseminate specific details about the ship to the small segment of the
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                              12   market who could be considered potential buyers of such an expensive and use-
                              13   specific vessel. Hurricane also showed the Court, through sworn statements, that
                              14   Hurricane had been stymied in its efforts to sell or re-finance the vessel since her
                              15   arrest, attributing the sudden and pervasive lack of interest in Philomena to
                              16   TMF’s having already saturated that already limited market.6
                              17         The Court was not persuaded. The Court specifically rejected Hurricane’s
                              18   contentions, finding them to be “based on hearsay information” (July 10, 2018
                              19   minute order, Dkt. 230, p. 2 of 5). Instead, the Court credited the testimony of
                              20   Bank of America’s representative, Kevin Mulholland, that Lenders had not
                              21   marketed the vessel and had not approached a broker until February 20, 2018,
                              22
                              23   4
                                    TMF’s counsel’s unauthorized contact with Hurricane’s vessel’s captain also
                              24   runs afoul of Rule 2-100 of California Rules of Professional Conduct
                                   (Communication With a Represented Party).
                              25
                                   5
                                    See Declaration of Frank C. Brucculeri at ¶ 3, submitted concurrently with this
                              26   Motion.
                              27   6
                                    See Loukopoulos Declaration, March 12, 2018, submitted in support of
                              28   Hurricane’s Opposition to Motion for Sale, Dkt. 132, at ¶ 7.

                                                                                 4
                                                           HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
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                               1   when they supposedly approached broker H. Clarkson & Co. for the first time
                               2   (July 10, 2018 minute order, Dkt. 230, p. 2 of 5, citing Mulholland Declaration at
                               3   ¶¶ 9 – 12).
                               4         Later-acquired emails and deposition testimony from BRS’s Gregory
                               5   Wauthier, the broker chosen by Lenders to render valuations of the vessels, put
                               6   the lie to the statements of Lenders and of TMF’s counsel. On January 29, 2018,
                               7   Wauthier sent an email to Mulholland (of lender Bank of America) and Gregory
                               8   Feldman (of Davidson Kempner, the principal for co-lender Burlington Loan
                               9   Management), with the subject line, “Technical documentation.” That email
                              10   referenced their phone call of the preceding week and listed the specific vessel-
                              11   related documents that Wauthier believed “should cover the matter.”7 The Court
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                              12   will note that the January 28, 2018 list of vessel-related documents from
                              13   Wauthier is almost identical, even in the order in which they are listed, to the
                              14   highly improper email demand to the captain of February 15, 2018.
                              15         In explaining that email he had written to Lenders, Mr. Wauthier testified
                              16   as follows:
                              17         Mr. Feldman, after the arrest of the Philomena, mentioned that there
                              18
                                         might be a possibility to look at a sale of the ship. I am a shipbroker
                                         and I tried to position myself to sell the ship. Because the ship was
                              19         arrested, however, he asked me to make a list of all documents that
                              20         a positive buyer would like to look at so that they could approach
                                         whoever was in charge of keeping those documents in one go,
                              21         instead of having several back and forth.
                              22   (Wauthier, Vol. 2, at 245:15 – 25).8 BRS, the brokerage that Wauthier works for,
                              23
                              24   7
                                    See Exhibit 57 to Wauthier deposition, Vol. II, of May 15, 2018, a true and
                              25   correct copy of which is attached as Exhibit B to Brucculeri Declaration,
                                   submitted concurrently with this motion.
                              26   8
                                    All relevant excerpts from Wauthier deposition referenced in this motion are
                              27   attached as Exhibit A to Brucculeri Declaration, submitted concurrently with this
                              28   motion.

                                                                                5
                                                          HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
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                               1   had “informed potential buyers out there that the ship had been arrested and they
                               2   should keep warm.” That term, he explained, meant that potential buyers “should
                               3   get ready if anything happens. Our job as shipbroker is to make people aware,
                               4   make owners aware, and so this is exactly what we did.” (247:5 – 20). Wauthier
                               5   also made clear that, until Mr. Feldman had specifically informed him of
                               6   Philomena’s arrest, he had not been aware of her arrest (247:21 – 25, 248:1 - 5).
                               7   That testimony undermines the assumption that merely publishing an arrest in the
                               8   Los Angeles Daily Journal necessarily makes potential buyers aware of the
                               9   arrest.
                              10             The January and February emails, in conjunction with Wauthier’s
                              11   testimony, make clear that Lenders did attempt to pre-sell Philomena; that they
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                              12   attempted to do so through their designated shipbrokers; that they began those
                              13   efforts at least in January of 2018, upending Mulholland’s statement that they’d
                              14   only first contacted a broker, Clarksons, in February of 2018; and that the
                              15   statement of TMF’s counsel—that it was his own office and not TMF, his client,
                              16   who had initiated and directed the demand for those documents—was simply
                              17   untrue. Lenders directed their shipbrokers to market the vessel well before asking
                              18   Clarksons to do so on February 20, 2018, and the email demand on the ship’s
                              19   captain was a demand that originated with lender Davidson Kempner. All those
                              20   facts support Hurricane’s point that it was precluded from selling or refinancing
                              21   the vessel once the prospective buyers in that limited market had already been
                              22   solicited as potential purchasers of the vessel at a distressed sale price. As the
                              23   accompanying declaration makes clear, the recently emerged facts shed light on
                              24   the reasons why Hurricane’s negotiations with prospective buyers had all failed:
                              25   the vessel had already been prematurely marketed for sale at a distress-sale price
                              26   that no arms-length transaction could compete with.9 Not only were Lenders and
                              27
                                   9
                              28       See Declaration of Charilaos Loukopoulos, submitted concurrently with this

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                                                            HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
                                                              RECONSIDERATION OF ORDER TO SELL VESSEL
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                               1   their agents marketing the vessel despite having no right to do so, they actually
                               2   lied about having done so.
                               3         Had those newly acquired facts been before the Court at the time it
                               4   decided TMF’s motion for interlocutory sale, the Court would have had more
                               5   than ample reason to deny that motion. Hurricane’s previously advanced
                               6   argument—that the costs of arrest are not “excessive” by any reasonable
                               7   measure—would have remained true. But Hurricane’s additionally advanced
                               8   argument—that Hurricane had by no means delayed the securing of Philomena’s
                               9   release but was, in practical terms, precluded from refinancing or selling her due
                              10   to Lenders’ underhanded involvement in the market for her sale—would have
                              11   carried much more weight. At a minimum, the obvious contradictions in TMF’s
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                              12   evidence—Bank of America’s representation of its first attempt to broker the
                              13   vessel, and TMF’s counsel’s transparent attempts to accept blame for the actions
                              14   of its client—might have given the Court pause before ordering the sale of the
                              15   res before the merits of TMF’s underlying claims had been fully resolved at trial.
                              16
                              17                                      CONCLUSION
                              18         Because critical testimonial and documentary evidence on the issue of
                              19   Lenders’ involvement in actively marketing Philomena for sale was only
                              20   acquired well after the conclusion of briefing on the motion for interlocutory
                              21   sale; because that evidence adds significant weight to Hurricane’s argument
                              22   about the impossibility of refinancing or selling the vessel; and because that
                              23   same evidence upends TMF’s claim that neither it nor Lenders had pre-marketed
                              24   the vessel for sale, the Court should reverse its order granting TMF’s motion for
                              25   interlocutory sale.
                              26

                              27   Motion, at ¶¶ 8 – 12.
                              28
                                                                                 7
                                                           HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
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                               1          Given that the sale date is fast approaching, and that Hurricane intends to
                               2   appeal the order of sale, Hurricane respectfully requests that the instant motion
                               3   be decided promptly. A decision that arrives too close to the sale date of
                               4   September 11, 2018 would unduly and irremediably prejudice Hurricane’s rights
                               5   to seek appellate review of the order that would permanently divest it of its rights
                               6   in its vessel.
                               7
                               8   Dated: August 14, 2018                       KAYE, ROSE & PARTNERS, LLP
                               9
                              10                                                By: /s/ Frank C. Brucculeri
                              11                                                   Frank C. Brucculeri
Kaye, Rose & Partners, LLP




                                                                                   Bradley M. Rose
                              12                                                   Attorneys for Defendant
                              13                                                   HURRICANE NAVIGATION INC.

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                                                           HURRICANE’S EX PARTE APPLICATION, Ps AND As, FOR
                                                             RECONSIDERATION OF ORDER TO SELL VESSEL
